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                                    UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
                    MASIMO CORPORATION,                         CASE NO. 8:20-cv-00048-JVS (JDEx)
           19       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,                APPLE’S REPLY IN SUPPORT OF
           20       a Delaware corporation,                     ITS MOTION TO STRIKE
                                                                PLAINTIFFS’ “UPDATED” AND
           21                          Plaintiffs,              “SUPPLEMENTAL” EXPERT
                                                                REPORTS SERVED AUGUST 9, 2024
           22             v.
           23       APPLE INC.,                                Date: September 9, 2024
                    a California corporation,                  Time: 1:30pm
           24                                                  Courtroom: 10C
                                       Defendant.
           25
                                                               Pre-Trial Conference: Oct. 28, 2024
           26                                                  Trial: Nov. 5, 2024
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             1                                         INTRODUCTION
             2              Over two years after expert discovery closed for Plaintiffs’ trade-secret and
             3      patent-ownership claims, and less than three months before the retrial on those same
             4      claims, on August 9, 2024, Plaintiffs served new expert reports from Dr. Madisetti and
             5      Mr. Kinrich. Masimo has no proper procedural or substantive justification for these new
             6      reports. The reports should be stricken, and the parties should proceed to the November
             7      trial relying on the long-since-closed expert record.
             8              Plaintiffs’ threshold representation (at 1) that neither Mr. Kinrich nor Dr.
             9      Madisetti “could have provided”1 their August 2024 updates as part of their original
           10       reports is wrong. To take just one example, Mr. Kinrich’s October 2022 damages report
           11       valued just three features when comparing the difference between Apple Watch Series
           12       6 and SE, and he admitted under cross-examination he did not attempt to value any other
           13       features. Ex. 6 [4/13/23 Trial Tr. AM] at 118, 124-128. Now, Mr. Kinrich’s “updated”
           14       report values many additional features, including features he was previously aware of
           15       and chose to ignore, such as the S6 chip that was the focus on cross-examination—a
           16       valuation that Plaintiffs admit they plan to use to “rebut[]” the argument that Mr.
           17       Kinrich’s analysis did not adequately consider all the differences between Series 6 and
           18       SE. Opp. at 11. This Court has previously barred Plaintiffs from engaging in precisely
           19       this kind of inappropriate backfilling. See, e.g., Dkt. 1347 at 9-10; see generally Dkts.
           20       1031, 1076, 1516.
           21               The other additions to the Kinrich and Madisetti reports are equally improper. In
           22       particular, Plaintiffs do not seriously dispute that Mr. Kinrich’s “update” considers
           23       additional Apple Watch models beyond the Series 6 and Series 7 that his original
           24       “incremental profit” was limited to, accounts for surveys produced during trade secret
           25       discovery that he previously omitted from his analysis, and violates this Court’s existing
           26       motion in limine ruling barring reference to other proceedings. As to Dr. Madisetti,
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                        Emphasis is added unless otherwise noted.
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             1      while Plaintiffs assert that particular documents produced during patent discovery would
             2      have provided them with a stronger basis for advancing a new disclosure theory for L5,
             3      they do not seriously dispute (nor could they) that Apple produced more than enough
             4      information to put them on notice of this (flawed) theory.
             5              Ultimately, Plaintiffs fall back on blaming Apple for their failure to include these
             6      belated theories in Mr. Kinrich’s and Dr. Madisetti’s original reports. But they have no
             7      explanation for why they waited until just a few months before the start of a long-planned
             8      retrial to supplement reports based on information admittedly provided by August 2022
             9      (e.g., the surveys) or—at worst—during fact discovery in the patent infringement case.
           10       Plaintiffs never sought re-opening of discovery related to the trade secret claims or even
           11       alerted the Court or Apple to their intent to serve these new reports, notwithstanding
           12       extensive discussion about the case schedule and trial. Plaintiffs’ untimely service of
           13       new opinions is yet another attempt to disrupt the November trial. The reports should
           14       be stricken.
           15                                             ARGUMENT
           16       I.      MR. KINRICH’S NEW REPORT IS UNTIMELY AND IMPROPER
           17               Plaintiffs are wrong that Mr. Kinrich August 9, 2024 report simply “appl[ies] the
           18       identical methodology he used in his original report.” Opp. at 2. The “updated” report
           19       is a clear attempt to correct numerous methodological mistakes that Apple highlighted
           20       at trial.
           21               A.     The Report Violates This Court’s Ruling On The Scope Of Mr.
           22                      Kinrich’s “Incremental Profits” Theory.
           23               Mr. Kinrich’s new report violates this Court’s April 12, 2023 order at trial
           24       “limit[ing] the unjust enrichment calculation to Series 6 and 7.” Ex. 5 [4/12/23 Trial Tr.
           25       AM] at 15:6-18; see also Mot. at 6-8. Plaintiffs’ explanations for why this Court should
           26       disregard both its past ruling and Mr. Kinrich’s prior express limitation on his damages
           27       calculation are without merit.
           28               First, Plaintiffs are wrong that Apple does not contest the timeliness of Mr.

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             1      Kinrich’s updates regarding the new watches. Opp. at 7. As Apple wrote in its opening
             2      brief:    “Plaintiffs’ attempt to now introduce a calculation of incremental profits
             3      attributable to these later models is … untimely[.]” Mot. at 7. Plaintiffs acknowledge
             4      (at 7) that Apple Watch Series 8, Ultra, and SE2 were released before Mr. Kinrich’s
             5      opening report (and thus over six months before this Court’s April 2023 ruling). Yet
             6      Mr. Kinrich did not attempt to address them in any way in his opening report or suggest
             7      he would update his calculation to account for those products or any other future models.
             8      Rather, as this Court summarized in April 2023, Series 6 and 7 “are the only series on
             9      which [Mr. Kinrich’s report says] Masimo seeks unjust enrichment.” Ex. 4 [4/10/23
           10       Trial Tr.] at 158:6-9.
           11                That Series 8 and Ultra were released a few weeks before Mr. Kinrich’s opening
           12       report does not excuse the timing of his recent supplement two years later. While
           13       Plaintiffs (at 8) try to fault Apple for failing to produce Series 8 and Ultra sales data until
           14       earlier this year (in the context of the patent infringement case), they ignore that
           15       Plaintiffs previously requested the information prior to the April 2023 trial and Apple
           16       refused precisely because that data was irrelevant to Mr. Kinrich’s unjust enrichment
           17       methodology. See Ex. 11 [3/8/23 Email from Apple counsel] at 1; Mot. at 7. Plaintiffs
           18       did not object then—nor did they re-raise the issue when Series 9 and Ultra 2 were
           19       released eleven months ago.2 Plaintiffs cannot reasonably sit on their hands for months
           20       or years and then blame Apple for their lack of diligence.
           21                Second, Plaintiffs wrongly suggest that the Court’s April 2023 Order addressed
           22       only whether Masimo could pursue unjust enrichment for older versions of Apple
           23       Watch. Opp. at 7. The Court did not limit its ruling to particular models; rather, it
           24       correctly held that Plaintiffs’ remaining theory of unjust enrichment was limited to
           25       Apple Watch Series 6 and 7 because Mr. Kinrich had expressly limited his analysis to
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                     See, e.g., “Apple introduces the advanced new Apple Watch Series 9” (Sept. 12, 2023),
           28       available at: https://tinyurl.com/425dfph5; “Apple unveils Apple Watch Ultra 2” (Sept.
                    12, 2023), available at: https://tinyurl.com/3u26pyvp.
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             1      those models. See Ex. 5 [4/12/23 Trial Tr. AM] at 15:6-18 (Court noting that it had
             2      “great difficulty getting beyond th[e] limitations” of Mr. Kinrich’s report). In any event,
             3      Plaintiffs should not be rewarded for failing to timely advance their new argument that
             4      Mr. Kinrich should be permitted to testify to the value of later-issued models—an
             5      argument that they could have advanced as early as the March 2023 email exchange
             6      between counsel. See Ex. 11 [3/8/23 Email from Apple counsel].
             7            Third, even aside from the (dispositive) timeliness issues, Plaintiffs are wrong to
             8      argue that Mr. Kinrich’s calculations based on the new models are merely an extension
             9      of his prior theories. See Opp. at 7-8. It was Mr. Kinrich himself who explained at trial
           10       (at the prompting of Plaintiffs’ counsel) that comparing Series 6 and SE was more
           11       appropriate than comparing Series 5 and 6 because “one … expects the new model to
           12       replace the old model and add new features.” Ex. 6 [4/13/23 Trial Tr. AM] at 87:12-
           13       89:10. It is impossible to square Mr. Kinrich’s sworn testimony with the newfound view
           14       reflected in his updated report that Blood Oxygen can be reliably valued regardless of
           15       whether it is a “new feature[].”3
           16             B.     The Report Includes At Least Two Previously Undisclosed Opinions
           17                    Regarding How To Value Apple Watch Features.
           18             As explained, Mr. Kinrich’s “updated” report changes his prior methodology in
           19       two ways intended to address critiques Apple raised at trial: (1) Mr. Kinrich purports to
           20       value seven times as many Apple features as before (including the S6 chip), and (2) Mr.
           21       Kinrich now accounts for buyer surveys that were produced during discovery on the
           22       trade secret claims. Mot. at 8-11. Plaintiffs tellingly do not dispute that the new report
           23       values new features and for the first time addresses buyer surveys that Apple timely
           24       produced in August 2022. The arguments Plaintiffs do make are meritless.
           25             First, Plaintiffs erroneously contend that Mr. Kinrich should be permitted to rely
           26       in the first instance on buyer surveys from Q2FY2021 – Q2FY2022 because Apple
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                      Plaintiffs’ assertion (at 8) that this point “goes to the merits” of Mr. Kinrich’s opinion
                    is a red herring. Mr. Kinrich’s logic is both new and flawed.
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             1      supposedly “buried” the surveys in its discovery productions. Opp. at 11. 4 This is not
             2      a serious argument. Apple timely produced these documents by the close of fact
             3      discovery in August 2022, two months before Mr. Kinrich served his opening report.
             4      See Ex. 3 [Kinrich Op. Rpt.] (dated Oct. 6 and updated Oct. 17, 2022). Had Plaintiffs
             5      needed more time to prepare and serve Mr. Kinrich’s expert report in light of Apple’s
             6      timely production, they should have sought it at that time. Indeed, the parties later
             7      agreed to push back certain expert discovery deadlines, including the deadline for Mr.
             8      Kinrich’s report. See Dkt. 1029-3 at 900. Plaintiffs cannot reasonably wait two years
             9      to raise a dispute about whether certain information was timely produced.
           10             Plaintiffs’ related suggestion (at 11) that Apple “does not fault” Mr. Kinrich for
           11       relying on buyer surveys produced in 2024 is also wrong. Plaintiffs offer no reasonable
           12       justification for why they should be permitted to selectively “update” expert reports to
           13       incorporate materials produced in response to discovery requests related to their patent
           14       infringement claims. Discovery on Plaintiffs’ trade secret claims closed long ago, and
           15       they neither sought nor received a schedule for re-opening such discovery. In any event,
           16       Mr. Kinrich’s reliance on the recently produced surveys was also improper because (as
           17       discussed next) they were part of a broader, methodological shift. See also Mot. at 8-
           18       11.
           19             Second, Plaintiffs wrongly argue that Mr. Kinrich’s methodology did not change
           20       because his original and “updated” report both rely on statements made on “Apple[’s]
           21       … website” regarding which features were the most important. Opp. at 8-9. Plaintiffs’
           22       admission a few pages later that Mr. Kinrich’s updated calculation “reduce[s]” his unjust
           23       enrichment estimate, Opp. at 10-11 (emphasis in original), makes clear that—as a matter
           24       of logic—Mr. Kinrich cannot be applying the same methodology. Unjust enrichment
           25       measures the value to Apple from the purported use of Plaintiffs’ supposed trade secrets.
           26
           27       4
                       Plaintiffs’ assertion (at 9) that “Kinrich lacked survey data to value the additional
                    differences Apple identified between the Series 7 and SE” is thus highly misleading.
           28       Mr. Kinrich “lacked” data only because Plaintiffs’ attorneys failed to provide him with
                    it, not because Apple failed to produce it. Dkt. 1171-5 [Kinrich Dep.] at 279:17-280:17.
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             1      Dkt. 1715 at 48 (Jury Instruction No. 38: “to decide the amount of any unjust enrichment,
             2      first determine the value of Apple’s benefit that it would not have achieved except for
             3      its misappropriation”). And any value Apple has received from Blood Oxygen would
             4      presumably only increase over time—particularly when considering two new years of
             5      sales and four new Apple Watch models. That Mr. Kinrich’s bottom-line damages
             6      number is now lower than when he was relying on fewer sales and models only makes
             7      sense if he used a new approach.
             8            In any event, Plaintiffs mislead when they assert (at 9) that Mr. Kinrich’s updated
             9      report relies on “the features that Apple’s website identif[ies] to differentiate between”
           10       Series 8, 9, Ultra, and Ultra 2 on the one hand and Series SE2 on the other. The passage
           11       from the “updated” report that Plaintiffs cite (paragraph 16) makes no mention of
           12       Apple’s website. Instead, his analysis focuses on “
           13                                                                         ” Ex. 1 [8/9/24 Kinrich
           14       Rpt.] ¶ 16. While an underlying appendix includes a few passing references to a
           15       “compare” feature on Apple’s website, this too is a significant change from Mr.
           16       Kinrich’s report, which relied on the marketing for particular products. See, e.g., Ex. 3
           17       [Kinrich Op. Rpt.] ¶ 153 (“
           18                                                    ”); Ex. 6 [4/13/23 Trial Tr. AM] at 101-102
           19       (Mr. Kinrich testifying he apportioned value of purported trade secrets by considering
           20       “                                         ”). Only some of that supposed marketing even
           21       appeared on Apple’s website. For example, Mr. Kinrich’s original report relied on New
           22       York Times and CNET articles to justify his position, Ex. 3 at 75 fn.288-289, and at trial,
           23       Mr. Kinrich focused on Apple’s video launch of the Series 6. Ex. 6 [4/13/23 Trial Tr.
           24       AM] at 95:8-23.
           25             More broadly, there was nothing that stopped Mr. Kinrich from relying on a
           26       similar buyer survey break-down of top features in his original report because the buyer
           27       surveys he originally analyzed also included lists of “top” features. Ex. 1 [8/9/24 Kinrich
           28       Rpt.] at Ex. 4.C at 17 (“

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             1                         ”). At trial itself, Mr. Kinrich referenced JTX-367 (a survey from
             2      Q1FY2021). Ex. 6 at 100. This survey included a list of “top” features:
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             6                        . Ex. 19 [JTX-367] at -664.5 Still, Mr. Kinrich conceded on cross-
             7      examination that he had only accounted for Blood Oxygen, ECG, and always-on in his
             8      original analysis. See Mot. at 8-9.
             9            Finally, Plaintiffs wrongly assert that Mr. Kinrich’s calculation of the value of
           10       the S6 chip—a particularly blatant deviation from his prior report, see Mot. at 10-11—
           11       is appropriate because Mr. Kinrich still maintains that the S6 chip should not be
           12       considered as part of the unjust enrichment award. Opp. at 11. But in the same breath,
           13       Plaintiffs admit that they intend to use the valuation as “rebuttal” evidence in response
           14       to Apple’s “critique” that Mr. Kinrich’s approach did not adequately account for most
           15       of the differences between Series 6/7 and Series SE. Id.; see also Opp. at 3 (“Kinrich
           16       quantified Apple’s critique that he should have accounted for the S6 processor in Series
           17       6.”). This kind of behavior is precisely what this Court’s prior order striking another
           18       untimely Kinrich report forbids.      See Dkt. 1347 at 9-10 (improper to “revise …
           19       disclosures in light of … opponent’s challenges to the analysis and conclusions therein
           20       … after the court’s deadline for doing so has passed”).
           21             C.     The Report Violates This Court’s Existing In Limine Order Barring
           22                    Reference To The ITC Proceeding.
           23             Mr. Kinrich’s report improperly relies on certain statements made by Apple in
           24       International Trade Commissions proceedings and follow-on Federal Circuit
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                     While Mr. Kinrich’s report considers some new features that did not exist in Series 6
           28       or 7, that makes no difference to the analysis. The issue is that Mr. Kinrich previously
                    asserted that only three features were relevant and no others.
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             1      proceedings. Mot. at 11-12.6 Plaintiffs do not seriously dispute that Apple could not
             2      cross-examine Mr. Kinrich on the basis for these statements without violating the
             3      existing in limine order. While Plaintiffs wrongly imply (at 10) that the in limine order
             4      includes a blanket exception permitting “evidence from another proceeding” to be
             5      admitted for “proper purposes,” the order only expressly contemplates that such
             6      evidence can be used for impeachment. Dkt. 1469 at 2. Plaintiffs’ suggestion (at 10)
             7      that Apple will suffer minimal prejudice because Mr. Kinrich’s analysis is more focused
             8      on the effects of the ITC ban rather than the ruling itself is specious—Apple cannot
             9      address the effects without also addressing their cause. Finally, Plaintiffs attempt (at 9-
           10       10) to re-argue the merits of this Court’s prior decision, but they ignore both the rigorous
           11       legal standards for requesting reconsideration, L.R. 7-18, and this Court’s longstanding
           12       guidance that any request for affirmative relief requires a separate motion, see, e.g., Dkt.
           13       1469 at 2—and in any event, Plaintiffs provide no substantive cause for the Court to
           14       change the substance of its prior decision.7
           15       II.   DR. MADISETTI’S NEW REPORT IS ALSO UNTIMELY AND IMPROPER.
           16             As explained, Dr. Madisetti could have—and should have—presented his new L5
           17       disclosure theory in his original report in September 2022. Mot. at 12-14. Plaintiffs’
           18       contrary arguments are unavailing.
           19             First, Plaintiffs’ assertion (at 13) that “Apple does not dispute that it first
           20       produced evidence revealing th[e] disclosure in June 2024” is baseless. Apple’s opening
           21       brief not only took exactly the opposite view (i.e., “Plaintiffs were in possession of this
           22
           23       6
                     The same error infects paragraph 11 of Mr. Kinrich’s report, which cites a Bloomberg
                    article summarizing the parties’ arguments in this litigation and the ITC proceedings.
           24       See Ex. 1 at 5 & n.17 (citing article located at https://tinyurl.com/328tv6vs). Indeed, the
                    same passage that Mr. Kinrich relies upon to justify his opinion appears simply to
           25       paraphrase Masimo’s arguments in prior filings for why Blood Oxygen is important.
           26       7
                      In particular, Apple’s Federal Circuit filings hardly contain the kind of “new material
                    facts” that have emerged since the in limine order that would justify reconsideration.
           27       Apple made similar points about Blood Oxygen in ITC filings that predate the in limine
                    order. Compare, e.g., Ex. 1 [8/9/24 Kinrich Rpt.] ¶ 10 with Certain Light-Based
           28       Physiological Measurement Devices, Inv. No. 337-TA-1276, EDIS Doc ID 791062
                    [Apple’s 2/23/2023 Public Interest Statement] at 1.
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             1      same information years ago,” Mot. at 12-13), but it identified multiple documents
             2      showing why that was so. Plaintiffs barely acknowledge that evidence and instead
             3      merely assert that the documents produced prior to the close of fact discovery do not
             4      show Apple actually transferred L5 to        . This assertion cannot be squared with Dr.
             5      Madisetti’s own “supplemental” report, which concludes Apple disclosed L-5 based on
             6      an                                                            (APL-MAS_00315919) that
             7      (by Dr. Madisetti’s own description) “
             8                                                                                ” See Mot. at 12-
             9      13; Ex. 2 [8/9/24 Madisetti Rpt.] ¶¶ 5-7 (
           10                                                                ). That          was undisputedly
           11       produced in 2021. Moreover, the           was attached to an email—also produced in
           12       2021—that stated “                                                     ” See Ex. 14 [APL-
           13       MAS_00315918] (email dated 10/12/2018).           Plaintiffs’ assertion (at 13) that this
           14       evidence was “internal to Apple” is another red herring. All the documents relied on in
           15       Dr. Madisetti’s supplement were produced from Apple’s internal files.              Nothing
           16       prevented Dr. Madisetti from earlier drawing the conclusion he now draws that Apple
           17       allegedly disclosed L-5 to      based on its sharing of the        .
           18             Second, Plaintiffs assert—without clear explanation—that Apple deliberately
           19       “withheld documents” that would have supported Plaintiffs’ new disclosure theory.
           20       Opp. at 14. Such a serious accusation should be backed by evidence; Plaintiffs cite none.
           21       It is entirely reasonable and expected that new documents would be produced in
           22       response to Plaintiffs’ voluminous requests related to their patent infringement claims
           23       that would not have been produced previously. During trade secret discovery, Apple
           24       produced over 300,000 documents from over 130 different custodians, including 39 ESI
           25       custodians identified by Masimo. Apple searched the e-mails of those custodians for
           26       dozens of agreed-to terms. Plaintiffs do not identify a single custodian from the trade
           27       secret case who supposedly had possession of the three documents they now claim are
           28       crucial, all three of which were produced as a result of requests made during patent

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             1      discovery.
             2      III.   THE NEW KINRICH AND MADISETTI REPORTS SHOULD BE STRUCK IN THEIR
             3             ENTIRETY.
             4             As explained, this Court should strike the eleventh-hour Kinrich and Madisetti
             5      reports because their late disclosure was neither substantially justified nor harmless.
             6      Mot. at 14-15. Plaintiffs have not met their burden to prove otherwise.
             7             First, Plaintiffs’ argument for why they were substantially justified in serving the
             8      Kinrich and Madisetti reports two years after the close of fact discovery and three
             9      months before the retrial merely repeat the same basic points already addressed above.
           10       See Opp. at 12 (arguing new Kinrich report was appropriate because it relied on data Mr.
           11       Kinrich purportedly did not have and was consistent with his prior methodology); id. at
           12       14 (arguing new Madisetti report was appropriate because it relied on information Apple
           13       was supposedly “concealing”). Because Plaintiffs’ arguments on the merits are severely
           14       flawed, they cannot provide the requisite substantial justification for disregarding the
           15       time limits laid out by the Federal Rules of Civil Procedure. See Dkt. 2052 at 13 (Court
           16       recognizing that trade secret claims were “ready to go” and could be “taken ‘off the
           17       shelf’”).
           18              Second, Plaintiffs wrongly assert that the eleventh-hour service of the new
           19       Kinrich and Madisetti reports was harmless based on (1) the same merits arguments
           20       disposed of above, and (2) the fact that Apple retains the ability to depose either expert.
           21       Opp. at 12, 14. In other words, Plaintiffs do not dispute that their experts’ belated reports
           22       will require reopening expert discovery just a few months before trial starts. See Mot.
           23       at 15. This process will not only require deposing Mr. Kinrich and Dr. Madisetti but
           24       also having Apple’s experts produce their own rebuttal reports and sit for depositions at
           25       a time when they and Apple’s counsel will be preparing for trial. See, e.g., Smartflash
           26       LLC v. Apple Inc., 621 F. App’x 995, 1005 (Fed. Cir. 2015) (trial is “the most
           27       burdensome task” in a litigation); Hologram USA, Inc. v. Pulse Evolution Corp., 2016
           28       WL 3965190, at *4 (D. Nev. July 21, 2016) (“‘[E]ven though the ultimate trial date was

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             1      still some months away[,]’ late supplemental disclosures are not harmless where parties
             2      disregard the Court’s clear scheduling orders” (quoting Wong v. Regents of Univ. of
             3      California, 410 F.3d 1052, 1062 (9th Cir. 2005))); Robinson v. HD Supply, Inc., 2013
             4      WL 5817555, at *3 (E.D. Cal. Oct. 29, 2013) (“Failure to disclosure the scope of
             5      expected expert testimony may prejudice an opposing party in its ability to properly
             6      depose that witness, select a rebuttal expert witness, and prepare for trial”).
             7            To be clear: Apple is not requesting and does not want a delay of the retrial.
             8      Following extensive arguments by the parties, the Court recently confirmed that the trial
             9      on the trade-secret and patent-ownership claims will proceed as scheduled in November,
           10       and Apple respectfully submits that under no circumstances should the Court reconsider
           11       that decision. It is time to bring these claims to closure, and Plaintiffs’ latest effort to
           12       disrupt and delay the retrial should be rejected.
           13             At the end of the day, Plaintiffs do not cite a single case where a court has
           14       permitted a party to serve supplemental expert reports two years after the close of fact
           15       discovery and based on changes to methodology or opinions that could have been
           16       disclosed at the time the original reports were served. That is for good reason. “The
           17       duty to supplement ‘does not give a license to sandbag one’s opponent.’” Reinsdorf v.
           18       Skechers U.S.A., 922 F. Supp. 2d 866, 880 (C.D. Cal. Feb. 6, 2013) (citation omitted).
           19       Plaintiffs’ cited cases stand for the same principle. See, e.g., L.A. Int’l Corp. v. Prestige
           20       Brands Holdings, Inc., 2019 WL 13095324, at *5 (C.D. Cal. Oct. 29, 2019) (holding
           21       new opinions “masquerading as a supplemental report” especially where “‘the plaintiff
           22       substituted new analyses … in direct response to an adverse argument’ are not truly
           23       supplemental” (citation omitted)); Plymouth Grain Terminals, LLC v. Lansing Grain
           24       Co., LLC, 2013 WL 12177094, at *3 (E.D. Wash. Nov. 21, 2013) (“gam[ing] the system
           25       by proposing a new damages calculation because [plaintiffs] fear … Report will not
           26       stand up to … scrutiny” is improper) (collecting cases); Cross-Fit, Inc. v. Nat’l Strength
           27       and Conditioning Assn., 2018 WL 3491854, at *8 (S.D. Cal. July 18, 2018) (recognizing
           28       same).

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             1            Reinsdorf, L.A. Int’l Corp., Plymouth, and Cross-Fit (not to mention this Court’s
             2      own prior decisions barring Plaintiffs’ repeated attempts to change their theory of the
             3      case, see Dkts. 1347, 1031, 1076, 1516) all support the same conclusion. The Kinrich
             4      and Madisetti reports should be stricken entirely.
             5                                          CONCLUSION
             6            For the foregoing reasons, the Court should strike Mr. Kinrich’s and Dr.
             7      Madisetti’s August 9, 2024 expert reports.
             8
             9      Dated: August 28, 2024                 Respectfully submitted,

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             1                             CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple Inc. certifies that this
             3      brief contains 3978 words, which [choose one]:
             4             X complies with the word limit of L.R. 11-6.1
             5               complies with the word limit set by court order dated [date].
             6
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